Case 14-31229-sgj15         Doc 98-1 Filed 04/22/14 Entered 04/22/14 18:53:39                Desc
                               Proposed Order Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

                   ORDER GRANTING ADJOURNMENT AND RESETTING
                             OF STATUS CONFERENCE

        Upon the Debtor’s Motion to Adjourn and Reset Status Conference [Dkt. No. __] (the

“Motion”), seeking adjournment of the Status Conference currently set for April 24, 2014 at 9:30

a.m. and resetting to April 30, 2014 at 9:30 a.m.; and the Court having determined that the relief

requested in the Motion is in the best interests of the Debtor, its estate, its creditors, and other

parties in interest; and it appearing that proper and adequate notice of the Motion has been given

and that no other or further notice is necessary; and upon the record herein; and after due

deliberation thereon; and good and sufficient cause appearing therefor, it is hereby




776280-v1\DALDMS                                                                                   1
Case 14-31229-sgj15        Doc 98-1 Filed 04/22/14 Entered 04/22/14 18:53:39           Desc
                              Proposed Order Page 2 of 3



          ORDERED, ADJUDGED AND DECREED that:

          1.   The Motion is GRANTED.

          2.   The Status Conference is hereby adjourned and reset to April 30, 2014 at 9:30

a.m. (Prevailing Central Time), before the Honorable Stacey G.C. Jernigan, United States

Bankruptcy Court, Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas,

Texas 75252.

          3.   Any interested party may submit a letter brief on the issue of the scope of the

automatic stay under Japanese bankruptcy law. The brief must be submitted with the Court by

12:00 p.m. on April 29, 2014.

                                 # # # END OF ORDER # # #

Prepared and submitted by:

BAKER & McKENZIE LLP

/s/ David W. Parham
David W. Parham
State Bar No. 15459500
John Mitchell
State Bar No. 24056313
Rosa A. Shirley
State Bar No. 24056313
2300 Trammell Crow Center
2001 Ross Avenue
Dallas, Texas 75201
Telephone: (214) 978-3000
Facsimile: (214) 978-3099
Email: david.parham@bakermckenzie.com
Email: john.mitchell@bakermckenzie.com
Email: rosa.shirley@bakermckenzie.com

- and -




776280-v1\DALDMS                                                                             2
Case 14-31229-sgj15      Doc 98-1 Filed 04/22/14 Entered 04/22/14 18:53:39   Desc
                            Proposed Order Page 3 of 3



Erin E. Broderick (admitted pro hac vice)
Illinois Bar No. 6295974
300 East Randolph Drive, Suite 5000
Chicago, Illinois 60602
Telephone: (312) 861-8000
Facsimile: (312) 861-2899
Email: erin.broderick@bakermckenzie.com

Attorneys for MtGox Co., Ltd., a/k/a MtGox KK




776280-v1\DALDMS                                                                3
